                              UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF KANSAS AT KANSAS CITY

    In re:                                                    )   Case No.: 20-20219
                                                              )
    PINNACLE REGIONAL HOSPITAL, INC.,                         )   Chapter 7
    et al.,1                                                  )
                                                              )   (Jointly Administered)
                                 Debtors.                     )
                                                              )
    JAMES A OVERCASH, not individually, but                   )
    solely as Chapter 7 Trustee of JOY’S                      )
    MAJESTIC PARADISE, INC.,                                  )
                                                              )
                             Plaintiff,                       )
                                                              )
    v.                                                        )   Adversary No.: 21-06019
                                                              )
    ROJANA ENTERPRISES, INC.                                  )
                                                              )
                      Defendant.                              )
    _____________________________________                     )

                   DEFENDANT ROJANA ENTERPRISES, INC.’S MEMORANDUM
                  IN SUPPORT OF MOTION TO DIMISS ADVERSARY COMPLAINT
             Defendant Rojana Enterprises, Inc. (“REI”), by and through its counsel of record, Daniel
E. Stuart, Esq. of the Law Office of Daniel E. Stuart, P.A., respectfully moves this Court (the
“Motion”) to dismiss the Adversary Complaint filed by James A. Overcash (the “Trustee”).2 In
support of this Motion, REI respectfully states as follows:

                                              INTRODUCTION
             1.      The Trustee’s Complaint necessary fails because the Debtors do not hold an interest
in the property he seeks to recover. At all times relevant, and consistent with Kansas law, the
principal of the Debtors, Douglas Palzer (defined below), was the owner of the real property, which

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         The jointly administered debtors in these cases are: Pinnacle Regional Hospital, Inc., Case No. 20-20219;
Pinnacle Regional Hospital, LLC (“PRHL”), Case No. 20-20221; Blue Valley Surgical Associates, LLC, Case No.
20-20222; Pinnacle Health Care System, Inc., Case No. 20-20224; Rojana Realty Investments, Inc., Case No. 20-
20225; and Joy’s Majestic Paradise, Inc., Case No. 20-20227 (collectively, the “Debtors”).
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         Unless otherwise indicated, all chapter and section references are to the Title 11 of the United States Code,
11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”). “Bankruptcy Rule” references are to the Federal
Rules of Bankruptcy Procedure Rules 1001-9037. “Civil Rule” references are to the Federal Rules of Civil Procedure
1-86.

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constitute the target of the instant adversary proceeding. REI demonstrates herein that Douglas
Casper Palzer’s (“Debtor Palzer”) personal funds were used to purchase the properties now at
issue, foreclosing any interest the Trustee may have in these properties in accordance with Kansas
law.

        2.       The instant adversary proceeding further constitutes a violation of the automatic
stay in Debtor Palzer’s Chapter 11 case currently being administered in the District of Nevada. As
the transferee of property owned by Debtor Palzer, not the Debtors, claims, if any, against REI,
are the property of Debtor Palzer’s bankruptcy estate - not these cases. By asserting claims against
the same property, the Trustee is in violation of the automatic stay for an attempt to assert control
over claims of a bankruptcy estate that he does not administer. Further, the Trustee’s course of
action leaves REI, currently in negotiations with Debtor Palzer’s creditors for satisfaction of any
potential claims, inequitably liable for damages arising out of the same property to two different
parties. As such, the complaint must be dismissed.
                                      PROCEDURAL HISTORY
        The Instant Bankruptcy Cases
        3.       On February 12, 2020, the Debtors filed voluntary petitions for relief under Chapter

11 of the Bankruptcy Code, giving rise to the above-captioned bankruptcy cases (collectively, the
“Bankruptcy Cases”).

        4.       On March 30, 2020, the Court appointed the Trustee as the Chapter 11 trustee in
the Bankruptcy Cases (PRHL Docket No. 84).
        5.       On July 23, 2020, the Court entered its Order on the Trustee’s Motion, Converting
the Bankruptcy Cases to cases under Chapter 7 of the Bankruptcy Code (PRHL Docket No. 385).
        6.       On August 3, 2020, the Court reappointed the Trustee to administer the Bankruptcy
Cases following their conversion to Chapter 7.3
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          The Court subsequently entered an Order finding the Trustee would not administer the PRHL as Chapter 7
trustee (PRHL Docket No. 539).

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          The Palzer Bankruptcy
          7.     On April 8, 2020, Douglas Casper Palzer (“Debtor Palzer”) filed a voluntary
petition for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for District of Nevada, giving rise to the Debtor Palzer’s Chapter 11 case In re Douglas Caspar
Palzer, 20-11889-MKN, (Bankr. D. Nev. April 8, 2020) (the “Palzer Bankruptcy”) (Palzer
Docket No. 1).
          8.     Also on April 8, 2020, the Court set the meeting of creditors (the “341 Meeting”)
for May 14, 2020—later continued to June 18, 2020—and the final date to file claims against
Debtor Palzer for August 12, 2020 (Palzer Docket No. 2). Counsel for the Trustee appeared at the
341 Meeting.
          9.     On March 12, 2021, the Debtor filed a disclosure statement (the “Disclosure
Statement”) and plan of reorganization (the “Plan”) (Palzer Docket Nos. 155; 156). The
Disclosure Statement and Plan were served on the Trustee.
                            ALLEGED FACTUAL BACKGROUND
          10.    Prior to the appointment of the Trustee in the Bankruptcy Cases, Debtor Palzer was

the principal of the Debtors and personal guarantor of a number of the Debtors’ financial
obligations. Subsequent to the conversion of the Bankruptcy Cases from Chapter 11 to Chapter 7,

Debtor Palzer sought bankruptcy relief in the District of Nevada where he resides.
          11.    REI is a real estate holding entity controlled by Debtor Palzer’s wife, Rojanna
Palzer.
          Events Predating the Bankruptcy Cases and the Palzer Bankruptcy
          12.    Thomas Francis Palzer (“Thomas”), Debtor Palzer’s biological brother, played
various roles in the operation of the Debtors, including the chief operating officer (“COO”) of
JMP.
          13.    As COO of JMP, Thomas held apparent and actual authority to purchase and title
property on behalf of JMP.


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         14.      At the time of the purchase of the Transferred Properties, Debtor Palzer and
Thomas agreed and understood that Thomas would be purchasing real property—as well as
conducting other business—on Debtor Palzer’s behalf for the benefit of his family.
         15.      On May 22, 2017, Debtor Palzer executed a contract to purchase the real property

referred to by the Trustee in Exhibit A of his Complaint (“RPA”) (Docket No. 1).
         16.      On October 24, 2017, Thomas executed a contract to purchase the real property
referred to by the Trustee in Exhibit B of his Complaint (“RPB”) (Id.).
         17.      On February 6, 2016, Thomas executed a contract to purchase the real property
referred to by the Trustee in Exhibit C of his Complaint (“RPC”- collectively with RPA and RPB,
the “Transferred Properties”) (Id.).4
         18.      Debtor Palzer executed the purchase of RPA in the name of JMP and himself.
         19.      Thomas executed the purchases of RPB and RPC on behalf of Debtor Palzer, using
Debtor Palzer’s personal funds. See the Declaration of Douglas Casper Palzer in support of the
Motion attached hereto as Exhibit 1 and the Declaration of Thomas Francis Palzer in support of
the Motion attached hereto as Exhibit 2.
         20.      Thomas, without Debtor Palzer’s permission, mistakenly titled RPB and RPC in

the names of JMP, the entity he controls.
         21.      On April 9, 2018, JMP executed a transfer of the Transferred Properties to REI at

the direction of Debtor Palzer, to remedy Thomas’ error. As the Transferred Properties’ equitable
and actual owner, Debtor Palzer’s intention when purchasing the Transferred Properties was to
maintain them for the benefit of his family.
         22.      At the time JMP transferred the Transferred Properties, the Debtors and Debtor
Palzer were solvent.5


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         Exhibits C and D of the Complaint are identical, and the Trustee fails to give any description of the properties
in the Complaint. REI presumes these exhibits reference a single property and reserves all rights to address this issue
should that not be the case.
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         REI reserves the right fully brief this issue should the need arrive. At this stage in the instant adversary case,
however, REI submits that JMP’s failure to hold an ownership interest in the Transferred Properties is dispositive of
the Trustee’s Complain.

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                                   STANDARD FOR REVIEW
        23.     Rule 12(b)(6), made applicable to adversary proceedings by Fed.R.Bankr.P.
7012(b), provides for the defense of “failure to state a claim upon which relief can be granted.”
The decision of the United States Supreme Court in Bell Atlantic Corp. v. Twombly, 127 S.Ct.

1995 (2007), provides the following definitive standard for allegations which must be provided in
a complaint pursuant to Fed.R.Civ.P. 8(a) and the standards by which a complaint is measured
under that rule in the face of a Rule 12(b)(6) motion:

                Federal Rule of Civil Procedure 8(a)(2) requires only a short and
                plain statement of the claim showing that the pleader is entitled to
                relief, in order to give the defendant fair notice of what the claim is
                and the grounds upon which it rests. While a complaint attacked by
                a Rule 12(b)(6) motion to dismiss does not need detailed factual
                allegations, a plaintiff’s obligation to provide the grounds of his
                entitlement to relief requires more than labels and conclusions, and
                a formulaic recitation of the elements of a cause of action will not
                do.

127 S.Ct. 1995, 1964-65 (internal citations and quotations omitted).
        24.     To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal, 129 S.Ct.
1937, 1949 (2009). A pleading that offers labels and conclusions or a formulaic recitation of the

elements of a cause of action will not do. Id. Nor does a complaint suffice if it tenders naked
assertions devoid of further factual enhancement. Id.

        25.     To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to state a claim to relief that is plausible on its face. Id. A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged. Id. at 1949.
        26.     Where a complaint pleads facts that are merely consistent with a defendant's
liability, it stops short of the line between possibility and plausibility of entitlement to relief. Id.
The tenet that a court must accept as true all of the allegations contained in a complaint is
inapplicable to legal conclusions. Id. Threadbare recitals of the elements of a cause of action,



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supported by mere conclusory statements, do not suffice. Id. Only a complaint that states a
plausible claim for relief survives a motion to dismiss. Id. at 1950.
                                      LEGAL ARGUMENT

        The Transferred Properties Were Not Property of JMP Estate as JMP Held Only Bare
        Legal Title

        27.    To successfully prosecute a claim under Section 548(a)(1)(B), a trustee must
demonstrate “all of the requirements necessary to establish a constructively fraudulent transfer[,]”
which include the: “(1) Debtor had an interest in the Property; (2) Debtor transferred that interest
within two years of filing bankruptcy; (3) Debtor received less than a reasonably equivalent value
in exchange for the transfer; and (4) Debtor was insolvent at the time he made the transfer or
became insolvent as a result of the transfer, or transferred his interest in the [p]roperty to an
insider.” Davis v. Pham (In re Nguyen), No. KS-13-002, 2014 Bankr. LEXIS 2084, at *11 (B.A.P.
10th Cir. May 9, 2014). “The most fundamental element of § 548, [is] whether there was a transfer
of an interest of [a d]ebtor in the [p]roperty that [a t]rustee [seeks to] avoid.” Id. (emphasis in
original).
        28.    For purposes of Section 548(a)(1)(B), whether a debtor holds an interest in

property—in the instant case—is determined under Kansas law. Id. Under common law, “a
resulting trust [in favor of the payer] is presumed when consideration is paid by one person and

legal title is taken in the name of another[; however,] Kansas statutes have abolished this
presumption.” Univ. State Bank v. Blevins, 227 Kan. 40, 42, 605 P.2d 91, 93 (1980). In place of
the common law presumption, Kansas law provides that “when a conveyance of real property for
a valuable consideration is made to one person and the consideration therefor paid by another, no
trust shall arise and title shall vest in transferee, except as provided by certain statutory
exceptions.” Davis, 2014 Bankr. LEXIS 2084 at *14 (citing KSA § 58-2406) (internal quotations
and brackets omitted).
        29.    Kansas law provides a number of statutory exceptions to KSA § 58-2406. One
applicable exception provides that KSA § 58-2406 shall not apply “where it shall be made to


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appear that by agreement and without any fraudulent intent the party to whom the conveyance was
made, or in whom the title shall vest, was to hold the land or some interest therein in trust for the
party paying the purchase money or some part thereof.” KSA § 58-2408. In other words, KSA §
58-2406 shall not apply if the parties to the applicable purchase intended by agreement for the

property to be held for the benefit of a third party. For purposes this exception, “the agreement to
create a resulting trust need not be in writing; it may be proved by parol, or by circumstantial
evidence.” Univ. State Bank v. Blevins, 227 Kan. 40, 42-43, 605 P.2d 91, 94 (1980) (citing Lyons
v. Berlau, 67 Kan. 426, 73 Pac. 52 (1903)). Indeed, the Kansas Supreme Court has held that
“[p]roof of [such] agreement [need] not [be] strong” so as to allow a court to “h[o]ld it sufficient.”
Id. at 43; see Taylor v. Walker, 114 Kan. 614, 220 P. 518, 1923 Kan. LEXIS 249 (Kan. 1923) (an
agreement to hold title to real property in trust for the person paying the consideration is not
required to be in writing; the existence of the trust relationship can be inferred from the relations
of the parties, their financial means, their conduct and admissions, and other pertinent
circumstantial evidence).
       30.     Here, Debtor Palzer entered into an agreement with Thomas to allow him to
purchase property on his behalf for the benefit of his family. Exhibits A and B. The Transferred

Properties were paid for by Debtor Palzer using funds from his personal account despite the fact
that Thomas had access to—and authority to use—JMP’s bank accounts. See Exhibits A and B.

This agreement is evidenced by the declarations of Debtor Palzer and Thomas as well as a myriad
of business transactions available to the Trustee. This agreement is further evidenced by the
circumstances surrounding the purchases and transfers. These circumstances include the fact
Thomas and Debtor Palzer share a life long familial relationship and Debtor Palzer was extremely
busy running the day-to-day operations of the Debtors. As such, many—if not all—of Debtor
Palzer’s non-Debtors ventures were operated on his behalf by his close family members, including
Thomas. The Trustee is incapable of demonstrating any rational for Debtor Palzer using his
personal funds to purchase the Transferred Properties with the intention of simply gifting them to
JMP. Rather, the circumstances demonstrate Thomas executed the purchases on behalf of Debtor


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Palzer and simply erroneously titled them in JMP until such time as the error was corrected in
2018.
        31.    Kansas law provides yet another exception to KSA § 58-2406, in KSA § 58-2408,
which states § 58-2406 shall not apply in “cases where the alienee shall have taken an absolute

conveyance in his or her own name without the consent of the person with whose money the
consideration was paid.” KSA § 58-2408.
        32.    Here, Thomas had no consent from Debtor Palzer to title the Transferred Properties
in the name of JMP, for whom he was a COO. Debtor Palzer routinely enlisted Thomas to enter
into certain business transactions on his behalf. Thomas, however, had no instruction nor consent
to hold the Transferred Properties in the name of the entity he controlled. Exhibit B. Thomas,
mistakenly titled the Transferred Properties in JMP, not understanding the legal implications of
his action, for the sake of efficiency and convenience given that he controlled JMP. Exhibit B.
Thomas simply believed it would be easier to close the sales transactions on behalf of JMP as its
COO. Exhibit B. This is evidenced by the fact that the Transferred Properties were transferred to
REI soon after Debtor Palzer was made aware of the manner in which the Transferred Properties
were held.

        The Claims Asserted by the Trustee Against REI are Property of the Palzer Bankruptcy
        Estate Rendering the Complaint a Violation of the Automatic Stay

        33.    “Unlike [S]ection 362(a)(1), which prohibits acts against the debtor, [S]ection
362(a)(3) addresses acts ‘to exercise control over property of the estate,’ including causes of
action.” In re Spiech Farms, LLC, 603 B.R. 395, 401 (Bankr. W.D. Mich. 2019) (citing Amedisys,
Inc. v. Nat'l Century Fin. Enters., Inc. (In re Nat'l Century Fin. Enters., Inc.), 423 F.3d 567, 577-
78 (6th Cir. 2005)). While the “trustee of a bankruptcy estate has the exclusive right to assert a
debtor’s prepetition causes of action,” if causes of action “belongs solely to the estate's creditors,
then the trustee has no standing to bring the[m]” Id. at 401. A trustee further “has the exclusive
right to assert causes of action that arise under the Bankruptcy Code, including chapter 5 avoidance




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actions. Id. at 401. “Any proceeds or other interests in property that the trustee recovers constitute
property of the estate.” Id. at 402 (citing 11 U.S.C. § 541(a)(3), (6)).
        34.     Although the determination of the party with the “sole right to bring a cause of
action is [controlled] by applicable non-bankruptcy law . . . if either[] party’s recovery can preclude

the other from a subsequent recovery, then the claims are not truly independent and by default
[such claims] belong to the estate.” Id. at 401 (citing Lowe v. Bowers (In re Nicole Gas Prod.,
Ltd.), 916 F.3d 566, 573 (6th Cir. 2019), petition for cert. filed, No. 18-1489 (U.S. May 29, 2019)).
        35.     As set forth above, the Transferred Properties were property of Debtor Palzer until
such time as JMP transferred them to REI. As such, to the extent Debtor Palzer held any
speculative claw back claims against REI, such claims are now property of the Palzer Bankruptcy
estate as of the date Debtor Palzer filed for Chapter 11 relief in the District of Nevada. § 541(a)(3).
Further supporting this conclusion is the fact that should the Trustee recover the Transferred
Properties, creditors of the Debtor Palzer would be precluded from recovering the Transferred
Properties for satisfaction of their claims. As a result, the claims asserted by the Trustee are subject
to Debtor Palzer’s automatic stay, and the filing of the instant adversary case constitutes a violation
of the automatic stay.

        The Complaint is Inappropriate Because it Gives Rise to Double Damages Against REI
        36.     The Chapter 5 claims involving the Transferred Properties constitute property of

the Palzer Bankruptcy estate – not the estates of these Debtors. Debtor Palzer proposed a plan of
reorganization in the Palzer Bankruptcy that settles any claims the Palzer Bankruptcy Estate holds
against REI, in exchange for a cash contribution for the benefit of the creditors in that case (which
includes several creditors of these cases). See Palzer’s First Amended Disclosure Statement for the
Plan of Reorganization for Douglas Casper Palzer Under Chapter 11 of the United States
Bankruptcy Code attached hereto as Exhibit 3 (the “Disclosure Statement”) (Debtor’s First
Amended Chapter 11 Plan of Reorganization for Douglas Casper Under Chapter 11 of the
Bankruptcy Code Dated June 2, 2021, is attached to the Disclosure Statement as Exhibit A). If the




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Trustee is permitted to pursue the instant adversary case, REI would remain liable for the value of
the Transferred Properties to the Palzer Bankruptcy.

        Dismissal of the Trustee’s Claw back Claims Renders the Relief Sought Under Section
        502 Inappropriate

        37.     As demonstrated above, the Trustee lacks any basis for relief under Section 548.
As such, the Trustee’s contention “that any claim the REI holds against the Debtors’ bankruptcy
estate should be disallowed in its entirety unless and until REI returns the Transfers or the value
of the Transfers to the Trustee” similarly lacks any basis and must be dismissed.
                                           CONCLUSION
        WHEREFORE, REI respectfully requests that the Court: (i) dismiss the Complaint; and
(ii) granting such other and further relief as is just and proper.
        DATED: June 21, 2021.                                   Respectfully Submitted by:


                                                                THE LAW OFFICE OF DANIEL E.
                                                                STUART, P.A.

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 21, 2021 the above and foregoing was

electronically filed with the court using the CM/ECF system, which sent notification to all parties

of interest participating in the CM/ECF System. I further certify that on June 21, 2021, copies of

the above and foregoing was served upon the following parties by electronic mail:

       James A. Overcash (jovercash@woodsaitken.com)
       Nicholas Zluticky (nicholas.zluticky@stinsonleonard.com).

DATED: June 21, 2021.

                                                            /s/ Daniel E. Stuart
                                                            Attorney for Defendant
                                                            Rojana Enterprises, Inc




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